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                          EXHIBIT B
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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                    CASE NO. 1:20-CV-24528

  ALEXIS LOPEZ,

         Plaintiff,
  v.

  CIBONEY, INC. and
  JOSE R. MORALES,

        Defendant.
  ____________________________/


                  DEFENDANTS, CIBONEY, INC. AND JOSE R. MORALES’
                          RULE 26 INITIAL DISCLOSURES


         Defendants, CIBONEY, INC. (“CIBONEY”) and JOSE R. MORALES (“MORALES”)
  (collectively, “Defendants”), through their undersigned counsel, hereby provide their Initial
  Disclosures to Plaintiff, ALEXIS LOPEZ (“Plaintiff”) in accordance with the requirements of
  Federal Rule of Civil Procedure 26(A)(1) and (2), as follows:

         These disclosures are based on Defendants’ preliminary understanding of Plaintiff’s
  allegations and cause of action set forth in the Complaint. Defendants’ initial disclosures are made
  without the benefit of any discovery. Consequently, Defendants reserves the right to amend its
  disclosures to add additional witnesses and documents after learning more about the nature and
  details of Plaintiff’s allegations and claims.


             A. Witnesses

         Pursuant to Fed. R. Civ. P. 26(a)(1)(A)(i), Defendants disclose the following individuals
  likely to have discoverable information that Defendants may use to support their claims or defenses
  and which they may call at trial. Defendants reserve the right to supplement or amend the following
  information as discovery progresses.
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   NAME                CONTACT INFORMATION              TOPICS OF DISCOVERABLE
                                                        INFORMATION
   Alexis Lopez        c/o FairLaw Firm                 Knowledge concerning his
   Plaintiff                                            employment with Ciboney, the
                                                        cash he received in tips while
                                                        employment, the claims asserted in
                                                        his Complaint and information
                                                        disclosed in discovery.
   Laura De Cardenas   c/o Quintairos, Prieto, Wood &   Knowledge concerning Plaintiff’s
                       Boyer, P.A.                      employment with Ciboney,
                                                        Plaintiff’s pay, the claims asserted
                                                        in this complaint, information
                                                        disclosed in discovery, and facts
                                                        related to the affirmative defenses
                                                        raised by Defendants to Plaintiff’s
                                                        action.
   Jose R. Morales     c/o Quintairos, Prieto, Wood &   Knowledge concerning Plaintiff’s
   Defendant           Boyer, P.A.                      employment with Ciboney,
                                                        Plaintiff’s pay, the claims asserted
                                                        in this complaint, information
                                                        disclosed in discovery, and facts
                                                        related to the affirmative defenses
                                                        raised by Defendants to Plaintiff’s
                                                        action.
   Juan Carlos         c/o Quintairos, Prieto, Wood &   Knowledge concerning Plaintiff’s
                       Boyer, P.A.                      employment with Ciboney,
                                                        Plaintiff’s pay, the claims asserted
                                                        in this complaint, information
                                                        disclosed in discovery, and facts
                                                        related to the affirmative defenses
                                                        raised by Defendants to Plaintiff’s
                                                        action.
   Rene Alarcon        c/o Quintairos, Prieto, Wood &   Knowledge concerning Plaintiff’s
                       Boyer, P.A.                      employment with Ciboney,
                                                        Plaintiff’s pay, the claims asserted
                                                        in this complaint, information
                                                        disclosed in discovery, and facts
                                                        related to the affirmative defenses
                                                        raised by Defendants to Plaintiff’s
                                                        action.
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   NAME                    CONTACT INFORMATION              TOPICS OF DISCOVERABLE
                                                            INFORMATION
   Lazaro E. Castellanos   c/o Quintairos, Prieto, Wood &   Knowledge concerning Plaintiff’s
                           Boyer, P.A.                      employment with Ciboney,
                                                            Plaintiff’s pay, the claims asserted
                                                            in this complaint, information
                                                            disclosed in discovery, and facts
                                                            related to the affirmative defenses
                                                            raised by Defendants to Plaintiff’s
                                                            action.
   Aymee Gonzalez          c/o Quintairos, Prieto, Wood &   Knowledge concerning Plaintiff’s
                           Boyer, P.A.                      employment with Ciboney,
                                                            Plaintiff’s pay, the claims asserted
                                                            in this complaint, information
                                                            disclosed in discovery, and facts
                                                            related to the affirmative defenses
                                                            raised by Defendants to Plaintiff’s
                                                            action.
   Juan M. Leal            c/o Quintairos, Prieto, Wood &   Knowledge concerning Plaintiff’s
                           Boyer, P.A.                      employment with Ciboney,
                                                            Plaintiff’s pay, the claims asserted
                                                            in this complaint, information
                                                            disclosed in discovery, and facts
                                                            related to the affirmative defenses
                                                            raised by Defendants to Plaintiff’s
                                                            action.
   Maria C. Lopez          c/o Quintairos, Prieto, Wood &   Knowledge concerning Plaintiff’s
                           Boyer, P.A.                      employment with Ciboney,
                                                            Plaintiff’s pay, the claims asserted
                                                            in this complaint, information
                                                            disclosed in discovery, and facts
                                                            related to the affirmative defenses
                                                            raised by Defendants to Plaintiff’s
                                                            action.
   Juan D. Lozano          c/o Quintairos, Prieto, Wood &   Knowledge concerning Plaintiff’s
                           Boyer, P.A.                      employment with Ciboney,
                                                            Plaintiff’s pay, the claims asserted
                                                            in this complaint, information
                                                            disclosed in discovery, and facts
                                                            related to the affirmative defenses
                                                            raised by Defendants to Plaintiff’s
                                                            action.
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   NAME                CONTACT INFORMATION              TOPICS OF DISCOVERABLE
                                                        INFORMATION
   Belkys Reina        c/o Quintairos, Prieto, Wood &   Knowledge concerning Plaintiff’s
                       Boyer, P.A.                      employment with Ciboney,
                                                        Plaintiff’s pay, the claims asserted
                                                        in this complaint, information
                                                        disclosed in discovery, and facts
                                                        related to the affirmative defenses
                                                        raised by Defendants to Plaintiff’s
                                                        action.
   Ivonne Romo Lopez   c/o Quintairos, Prieto, Wood &   Knowledge concerning Plaintiff’s
                       Boyer, P.A.                      employment with Ciboney,
                                                        Plaintiff’s pay, the claims asserted
                                                        in this complaint, information
                                                        disclosed in discovery, and facts
                                                        related to the affirmative defenses
                                                        raised by Defendants to Plaintiff’s
                                                        action.
   Juan C. Varela      c/o Quintairos, Prieto, Wood &   Knowledge concerning Plaintiff’s
                       Boyer, P.A.                      employment with Ciboney,
                                                        Plaintiff’s pay, the claims asserted
                                                        in this complaint, information
                                                        disclosed in discovery, and facts
                                                        related to the affirmative defenses
                                                        raised by Defendants to Plaintiff’s
                                                        action.
   Yanelis Zuniga      c/o Quintairos, Prieto, Wood &   Knowledge concerning Plaintiff’s
                       Boyer, P.A.                      employment with Ciboney,
                                                        Plaintiff’s pay, the claims asserted
                                                        in this complaint, information
                                                        disclosed in discovery, and facts
                                                        related to the affirmative defenses
                                                        raised by Defendants to Plaintiff’s
                                                        action.
   Yacksunary Cha      c/o Quintairos, Prieto, Wood &   Knowledge concerning Plaintiff’s
                       Boyer, P.A.                      employment with Ciboney,
                                                        Plaintiff’s pay, the claims asserted
                                                        in this complaint, information
                                                        disclosed in discovery, and facts
                                                        related to the affirmative defenses
                                                        raised by Defendants to Plaintiff’s
                                                        action.
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   NAME                    CONTACT INFORMATION                   TOPICS OF DISCOVERABLE
                                                                 INFORMATION
   Wilfredo Torres         c/o Quintairos, Prieto, Wood &        Knowledge concerning Plaintiff’s
                           Boyer, P.A.                           employment with Ciboney,
                                                                 Plaintiff’s pay, the claims asserted
                                                                 in this complaint, information
                                                                 disclosed in discovery, and facts
                                                                 related to the affirmative defenses
                                                                 raised by Defendants to Plaintiff’s
                                                                 action.
   Corporate               c/o Quintairos, Prieto Wood &         Knowledge concerning ADP, the
   Representative          Boyer, P.A.                           payroll company used by Ciboney,
   ADP Payroll             Reginald J. Clyne, Esq.               Inc and facts related to the
                           Audrey-Jade Salbo, Esq.               affirmative defenses raised by
                           9300 S. Dadeland Blvd., 4th Floor     Defendants to Plaintiff’s action.
                           Miami, FL 33156
                           (305) 670-1101
   Aura Flores             Clover Network, Inc.                  Knowledge concerning the Clover
   Clover Network, Inc.    415 N Mathilda Ave,                   system used by Ciboney, Inc. and
                           Sunnyvale, CA 94085                   Plaintiff while Defendant
                                                                 employed him.
   Corporate               Clover Network, Inc.                  Knowledge concerning the Clover
   Representative          415 N Mathilda Ave,                   system used by Ciboney, Inc. and
   Clover Network, Inc.    Sunnyvale, CA 94085                   Plaintiff while Defendant
                                                                 employed him.
   Jorge L. Banos          Jorge L. Banos, P.A.                  Knowledge concerning Ciboney,
                           8220 Coral Way                        Inc.’s accounting practices.
                           Miami, FL 33155


             B. Documents

         Pursuant to Fed. R. Civ. P. 26(a)(1)(A)(ii), Defendants lists the following documents which
  Defendants have in their possession, custody or control and may use to support its defenses in the
  instant action. Defendants reserve the right to supplement or amend these disclosures as provided
  under Fed. R. Civ. P. 26(e) as discovery progresses. The following disclosures do not include
  documents and things that are likely to be offered solely for impeachment:

             1. Ciboney, Inc. Employee Handbook-DEF00001-DEF00020
             2. Acknowledgment signed by Alexis Lopez dated January 1, 2016 to December 27,
                2016-DEF00021
             3. Notice to Employees Minimum Wage in Florida executed by Alexis Lopez-
                DEF00022
             4. Alexis Lopez 2017 Punch in Punch Out Report-DEF00023-DEF00049
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             5. Alexis Lopez 2017 Tip Report-DEF00050-DEF00101
             6. Alexis Lopez 2017 ADP Earnings Statements-DEF00102-DEF00107
             7. Alexis Lopez 2018 Punch in Punch Out Report-DEF00108-DEF00160
             8. Alexis Lopez 2018 Tip Report-DEF00160-DEF00212
             9. Alexis Lopez 2018 ADP Earnings Statements-DEF00213-DEF00234
             10. Alexis Lopez 2019 Punch in Punch Out Cards-DEF00235-DEF00290
             11. Alexis Lopez 2019 Tip Report-DEF00291-DEF00342
             12. Alexis Lopez 2019 W-2-DEF00343-DEF00344
             13. Alexis Lopez 2020 Punch in Punch Out Cards-DEF00345-DEF00359
             14. Alexis Lopez 2020 Tip Report-DEF00360-DEF00372
             15. Ciboney Employment Documents executed by Alexis Lopez-DEF00373-
                 DEF00377
             16. Text Messages between Laura De Cardenas and Alexis Lopez-DEF00378-
                 DEF00385

             C. Computation of any Category of Damages Claimed by Defendant and
                Disclosure of Supporting Documents.

         Pursuant to Fed. R. Civ. P. 26(a)(1)(A)(iii), Defendants disclose that, at this time, they are
  not claiming damages against Plaintiff in this case. Defendants reserve the right to amend their
  disclosures as discovery progresses.

             D. Insurance Agreements Liable for Part or All of a Judgment or for
                Indemnification
         Not applicable.

             E. Reservation of Rights

         Defendants reserve the right to amend or supplement these disclosures as provided by Fed.
  R. Civ. P. 26(e) and to object to the admissibility of any document or statement herein or in
  Plaintiffs’ initial disclosures on all bases set forth in the Federal Rules of Civil Procedure, Federal
  Rules of Evidence, and governing law.

                                                         Respectfully submitted,

                                                 By:     /s/ Audrey-Jade Salbo
                                                         Reginald J. Clyne, Esq.
                                                         Florida Bar No.: 654302
                                                         Audrey-Jade Salbo, Esq.
                                                         Florida Bar No.: 119370
                                                         QUINTAIROS, PRIETO, WOOD &
                                                         BOYER, P.A.
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                                                       Attorneys for Defendant, Permanent
                                                       General Assurance Corp
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                                                       Miami, FL 33156
                                                       Tel: (305) 670-1101
                                                       Fax: (305) 670-1161
                                                       Email: rclyne.pleadings@qpwblaw.com
                                                               Reginald.clyne@qpwblaw.com
                                                               audrey-jade.salbo@qpwblaw.com
                                                               stephanie.clavijo@qpwblaw.com
                                                               Cecilia.quevedo@qpwblaw.com


                                  CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that on 2 nd day of September, 2021, the foregoing document was
   electronically filed with the Clerk of the Court using CM/ECF. I also certify that the foregoing
   document is being served this day on Manuel Arthur Mesa, Esq., Mesa & Associates, P.A.,
   Attorney for Plaintiff, in the manner specified, either via transmission of Notices of Electronic
   Filing generated by CM/ECF or in some other authorized manner for those counsel or parties
   who are not authorized to receive electronically Notices of Electronic Filing.


                                                        Respectfully submitted,

                                                By:     /s/ Reginald J. Clyne
                                                       Reginald J. Clyne, Esq.
                                                       Florida Bar No.: 654302
                                                       Audrey-Jade Salbo, Esq.
                                                       Florida Bar No.: 119370
                                                       QUINTAIROS,
                                                       PRIETO, WOOD &
                                                       BOYER, P.A.
                                                        Attorneys for Ciboney, Inc. and
                                                       Jose R. Morales
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                                                       Cecilia.quevedo@qpwblaw.com
                                                       Gcastro@qpwblaw.com
